Case: 2:17-cv-00463-GCS-KAJ Doc #: 70 Filed: 12/13/18 Page: 1 of 1 PAGEID #: 1413



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


JASON SCHAUMLEFFEL,

                       Plaintiff,

                                                                         Civil Action 2:17-cv-463
       v.                                                                Judge George C. Smith
                                                                         Magistrate Judge Jolson
MUSKINGUM UNIVERSITY, et al.,

                       Defendants.


                                             ORDER

       This matter came before the Court on December 13, 2018, for a status conference. As

discussed, the parties are DIRECTED to meet and confer regarding jurisdictional issues, an

agreed protective order, and discovery going forward. The parties shall file a joint status report

by January 11, 2019, detailing the results of their conferral process.



       IT IS SO ORDERED.



Date: December 13, 2018                               /s/ Kimberly A. Jolson
                                                      KIMBERLY A. JOLSON
                                                      UNITED STATES MAGISTRATE JUDGE
